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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   :
CARLOS VEGA                        :
and                                :
JOSEPH WHITEHEAD,                  :       CIVIL ACTION
           Plaintiffs,             :
     v.                            :       No. 2:19-cv-04039
                                   :
CITY OF PHILADELPHIA AND           :
LAWRENCE KRASNER                   :
           Defendants.             :
                                   :

                                          ORDER

       AND NOW, this _______ day of _______, 2021, upon consideration of Defendants’

Motion for Leave to File a Supplemental Brief in Support of Defendants’ Motion for Summary

Judgment, it is hereby ORDERED that said Motion is GRANTED.


       The Court hereby enters on the record Defendants’ Supplemental Brief in Support of

their Motion for Summary Judgment, attached hereto as Exhibit A.


                                                  _________________________________
                                                  The Honorable Gene E.K. Pratter
                                                  U.S. District Court Judge




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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                   :
CARLOS VEGA                        :
and                                :
JOSEPH WHITEHEAD,                  :       CIVIL ACTION
           Plaintiffs,             :
     v.                            :       No. 2:19-cv-04039
                                   :
CITY OF PHILADELPHIA AND           :
LAWRENCE KRASNER                   :
           Defendants.             :
                                   :

      MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF IN SUPPORT OF
            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants, the City of Philadelphia and Lawrence Krasner, by and through their

undersigned counsel, hereby seek leave from this Court to a file the attached Supplemental Brief

in Support of Defendants’ Motion for Summary Judgment (ECF 34) as to Plaintiff Carlos Vega’s

employment discriminations claims. As grounds for this Motion, Defendants state:

       1.      On September 5, 2019, Mr. Vega filed a complaint against Defendants, the City

of Philadelphia and Lawrence Krasner, alleging claims of employment discrimination.


       2.      On November 2, 2020, Defendants filed a Motion for Summary Judgment as to

all of Mr. Vega’s claims, arguing, inter alia, that there were legitimate non-discriminatory

reasons for terminating Mr. Vega’s employment.


       3.      The Court held oral argument on Defendants’ Motion on January 19, 2021.

Defendants’ Motion is pending.


       4.      On May 4, 2021, Mr. Vega commenced a lawsuit by Writ of Summons against

Shaun King, Real Justice PAC, and Lawrence Krasner for DA, a political campaign




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organization, in the Court of Common Pleas of Philadelphia. See Vega v. Shaun King, et al.,

Philadelphia Court of Common Pleas, Case No. 210500305.


       5.      Mr. Vega filed a verified Complaint in the Philadelphia Court of Common Pleas

case on May 14, 2021, alleging false light and civil conspiracy claims.


       6.      The facts alleged by Mr. Vega in his verified complaint admit that Defendants

terminated his employment for legitimate non-discriminatory reasons. As discussed in the

proposed supplemental brief, those sworn factual allegations by Mr. Vega are that Mr. Krasner

has never gotten over losing to Mr. Vega in the Scott/Mohammed trial, Mr. Krasner swore to get

revenge against Mr. Vega, and Mr. Krasner’s long-standing malice and resentment of Mr. Vega

caused Mr. Krasner to terminate Mr. Vega’s employment in the first week after Mr. Krasner

became District Attorney.


       7.      Accordingly, Defendants’ respectfully request leave to file the short supplemental

brief in support of their Motion for Summary Judgment attached hereto as Exhibit A, to address

these new admissions from Mr. Vega. Defendants believe this Supplemental Brief will assist the

Court in resolving the issues addressed in Defendants’ Motion for Summary Judgment.


       WHREFORE, the Defendants’ respectfully request this Court to grant this Motion for

Leave to File the attached Supplemental Brief in Support of Defendants’ Motion for Summary

Judgment.




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                                Respectfully submitted,


                                    SCHNADER HARRISON SEGAL &
                                    LEWIS LLP

                                    /s/ David Smith_____________________________
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                                    Anne E. Kane (Attorney I.D. 81872)
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                                    Philadelphia, PA 19103
                                    Counsel for Lawrence S. Krasner

                                    CITY OF PHILADELPHIA LAW
                                    DEPARTMENT
                                    Diana Cortes, City Solicitor

                                    /s/ Lisa A. Swiatek__________________________
                                    Lisa A. Swiatek (Attorney I.D. 93045)
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                                    Philadelphia, PA 19102
                                    Counsel for the City of Philadelphia

Dated: June 4, 2021




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